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15
                          UNITED STATES DISTRICT COURT
16
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
17
18 Netflix Studios, LLC; Amazon Content     Case No. 2:18-cv-230
   Services, LLC; Columbia Pictures
19 Industries, Inc.; Disney Enterprises,    NOTICE OF ERRATA TO
   Inc.; Paramount Pictures Corporation;    CORRECT CORPORATE NAME
20 Twentieth Century Fox Film               ON DOCKET
   Corporation; Universal City Studios
21 Productions LLLP; Warner Bros.
   Entertainment Inc.
22
                 Plaintiff,
23
          vs.
24
   Dragon Media Inc. d/b/a Dragon Box;
25 Paul Christoforo; Jeff Williams.
26              Defendant.
27
28

                                                               Case No. 2:18-cv-230
                                NOTICE OF ERRATA TO CORRECT CORPORATE NAME ON DOCKET
Case 2:18-cv-00230-MWF-AS Document 8 Filed 01/10/18 Page 2 of 2 Page ID #:48




  1               PLEASE TAKE NOTICE THAT Plaintiffs hereby file this Notice of
  2 Errata to correct the spelling of a corporate name on the Court’s docket:
  3               The Court docket in this matter states: “Twentieth Centruy Fox Film
  4 Corporation.” Plaintiffs respectfully request that the Court correct the spelling of
  5 this corporate name to “Twentieth Century Fox Film Corporation.”
  6
  7 DATED: January 10, 2018              MUNGER, TOLLES & OLSON LLP
  8
  9
                                         By:        /s/ Kelly M. Klaus
10
                                             KELLY M. KLAUS
11                                       Attorneys for Plaintiffs
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                                                                        CASE NO. 2:18-CV-230
                                    NOTICE OF ERRATA TO CORRECT CORPORATE NAME ON DOCKET
